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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                           Case No. 18-cv-60530-UU

 ENVISION HEALTHCARE
 CORPORATION, et al.,

          Plaintiffs,

 v.

 UNITED HEALTHCARE INSURANCE
 COMPANY,

       Defendant.
 _____________________________________/

                                                      ORDER

          THIS CAUSE is before the Court upon Defendant’s Motion to Compel Arbitration (D.E.

 24) and Defendant’s Motion to Stay Proceedings Pending Determination of Motion to Compel

 Arbitration (D.E. 25).

          THE COURT has reviewed the Motion, the pertinent portions of the record and is

 otherwise fully advised of the premises.

          Defendant moves to compel arbitration on the grounds that the contract at issue in this

 case includes a broad arbitration provision. See D.E. 21-1, p. 17, Article VIII (requiring binding

 arbitration of “any and all disputes between [the parties]”). Defendant also moves to stay this

 case pending resolution of the motion to compel arbitration. In light of the facial applicability of

 the arbitration provision to this case, the Court will stay discovery pending further order of the

 Court. 1 It will not stay any other deadlines. Accordingly, it is hereby


 1
  The Plaintiff has attempted to plead around the arbitration provision by arguing that because Defendant has
 breached the agreement, Plaintiff is no longer bound by the arbitration provision. D.E. 1 ¶ 3. The Parties shall focus
 on this issue in their response and reply briefs. See Krinsk v. SunTrust Banks, Inc., 654 F.3d 1194, 1201 (11th Cir.
 2011).
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        ORDERED AND ADJUDGED that Plaintiffs SHALL file a response to the Motion to

 Compel Arbitration (D.E. 24) no later than Thursday, April 12, 2018. Defendants SHALL file

 a reply to Plaintiffs’ response no later than Friday, April 13, 2018 at 5:00 P.M. It is further

        ORDERED AND ADJUDGED that the Motion to Stay (D.E. 25) is GRANTED IN

 PART AND DENIED IN PART. Discovery in this matter is hereby STAYED until the Court

 issues an order on the Motion to Compel Arbitration. All other deadlines remain in effect.

        DONE AND ORDERED in Chambers, Miami, Florida, this _9th_ day of April, 2018.



                                                      _____________________________
                                                      UNITED STATES DISTRICT JUDGE

 cc: counsel of record via cm/ecf
